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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 NATHANIEL CLARK,            )
                             )
       Plaintiff,            )
                             )                  Civil Action
 v.                          )                  No. 1:22-cv-_______
                             )
 CITY OF FOREST PARK, GA and )
 LATRESA AKINS-WELLS, in her )
 individual capacity,        )
                             )
       Defendants.           )


                            NOTICE OF REMOVAL

      COME NOW the City of Forest Park, Georgia (the “City”) and Latresa Akins-

Wells, in her individual capacity (“Ms. Wells”), the defendants herein, and, pursuant

to 28 U.S.C. §§ 1331, 1441, and 1446, hereby remove the above-styled civil action

from the Superior Court of Clayton County, Georgia to the United States District

Court for the Northern District of Georgia, Atlanta Division, based on the following

grounds:

                                          1.

      Plaintiff Nathaniel Clark is a U.S. citizen and a resident of Henry County,

Georgia. Plaintiff thus is a citizen of Georgia for purposes of federal court

jurisdiction.

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                                           2.

      Plaintiff filed this action on November 1, 2021 in the Superior Court of

Clayton County, where it was assigned civil action number 2021CV03928. Plaintiff

filed his first amended complaint on February 7, 2022. Neither plaintiff’s initial

complaint nor his first amended complaint contained any federal causes of action.

                                           3.

      On June 15, 2022, plaintiff filed his second amended complaint, asserting for

the first time a federal cause of action. A copy of the second amended complaint is

attached as Exhibit A, and all process, other pleadings, and orders served upon

defendants are attached as Exhibit B.

                                           4.

      This notice of removal thus is timely filed within 30 days of defendants’

receipt of plaintiff’s second amended complaint. See 28 U.S.C. § 1446(b)(1)-(3).

                                           5.

      In Count II of his second amended complaint, plaintiff asserts a federal cause

of action for retaliation pursuant to Title VII of the Civil Rights of 1964, 42 U.S.C.

§ 2000e et seq. (Second Am. Compl., ¶¶ 106-117.) This action thus is a civil action

over which the United States District Court has original jurisdiction pursuant to 28

U.S.C. § 1331 because it is an action “arising under the Constitution, laws, or treaties


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of the United States.” 28 U.S.C. § 1331.

                                           6.

      This civil action thus is removable pursuant to 28 U.S.C. § 1441 because the

United States District Court has original jurisdiction over this case by reason of

federal-question jurisdiction pursuant to 28 U.S.C. § 1331. This Court further has

supplemental jurisdiction over plaintiff’s state law claims arising under the Georgia

Whistleblower Act, O.C.G.A. § 45-1-4(d) (Count I), intentional infliction of

emotional distress pursuant to Georgia common law (Count III), and slander per se

pursuant to O.C.G.A. § 51-5-4 (Count IV) because they arise out of the same facts

as plaintiff’s federal claim and form part of the same case or controversy. See

28 U.S.C. § 1367(a).

                                           7.

      Pursuant to 28 U.S.C. § 90(a)(2), the United States District Court for the

Northern District of Georgia, Atlanta Division, is the district court having

jurisdiction over Clayton County, Georgia, where the superior court action was

pending. Pursuant to 28 U.S.C. §§ 1441, 1446(a), defendants thus are entitled to

remove this action from the Superior Court of Clayton County to this Court.

                                           8.

      Contemporaneously with the filing of this notice of removal with this Court,


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defendants are filing a copy of this notice of removal with the clerk of the Superior

Court of Clayton County, with service on plaintiff’s counsel, as required by 28

U.S.C. § 1446(d).

                                          9.

      All defendants consent to the removal of this action.

                                          10.

      WHEREFORE, this Court now has jurisdiction over this action.

                                          Respectfully submitted,

FREEMAN MATHIS & GARY,                    CRUSER, MITCHELL, NOVITZ,
LLP                                       SANCHEZ, GASTON & ZIMET,
                                          LLP

/s/ Michael M. Hill                       /s/ Karen E. Woodward
Michael M. Hill                           Karen E. Woodward
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Counsel for Defendant                     Counsel for Defendant
City of Forest Park, Georgia              Latresa Akins-Wells




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                    CERTIFICATE OF COMPLIANCE

     Pursuant to Local Rule 7.1(D), I hereby certify that the within and foregoing

NOTICE OF REMOVAL has been prepared in compliance with Local Rule 5.1(B)

in 14-point Times New Roman type face.

     This 13th day of July, 2022.


                                     /s/ Michael M. Hill
                                     Michael M. Hill
                                     Georgia Bar No. 770486
                                     100 Galleria Parkway, Suite 1600
                                     Atlanta, GA 30339
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                                     F: (770) 937-9960
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                                     Counsel for Defendant
                                     City of College Park, Georgia
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                        CERTIFICATE OF SERVICE

      I certify that on this day I served a copy of the within and foregoing NOTICE

OF REMOVAL by depositing a true and correct copy thereof in the United States

mail, postage prepared, properly addressed upon:

                   Jackie Lee
                   LEE LAW FIRM, LLC
                   1100 Peachtree St., NE, Ste. 250
                   Atlanta, GA 30309
                   jackie@leelawga.com

      This 13th day of July, 2022.


                                      /s/ Michael M. Hill
                                      Michael M. Hill
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                                      Counsel for Defendant
                                      City of Forest Park, Georgia
